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UNI'I'ED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

 

N.V.E., INC., Civil Action No.
plaintiff 06-5455 (MCA) (LDW)
V.
ORDER

JESUS J. PALMERONI, et al.,

Defendants.

 

 

THIS MATTER having come before the Court by way of an October l, 2018 telephone
conference before the undersigned, and for good cause shown,
IT IS, on this 9th day of October 2018, ORDERED that:

1. The parties shall appear for a settlement conference before the undersigned on November
27, 2018 at 9:30 a.m., in Courtroom 3C of the Martin Luther King Jr. Federal Building
and U.S. Courthouse. Clients with full and immediate settlement authority must attend in
person. Confidential settlement letters, which shall not exceed ten (lO) pages absent leave
from the Court, shall be sent to LDW_orders@njd.uscourts.gov at least three business
days prior to the conference Voluminous exhibits to settlement letters (exceeding 20
pages) will not be reviewed by the Court unless submitted in hard copy that is received by
Chambers no later than three business days in advance of the settlement conference

2. The parties are directed to assemble at the office of Plaintifl’ s counsel to prepare the f~`inal
Pretrial Order in compliance with the form and content requirements of the Court.
Plaintiff‘s counsel shall prepare the Final Pretrial Order and shall submit it to all other

parties for approval before submitting it to the Court.

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3. The Final Pretrial Order shall be delivered to the Court in hard copy or filed on the
electronic docket on or before December 14, 2018, All parties are responsible for the
timely submission of the Final Pretn'al Order.

4. The parties shall appear for a final pretrial conference before the undersigned pursuant to
Fed. R. Civ. P. l6(e) on January 9, 2019 at 9:30 a.m., in Courtroom 3C of the Martin
Luther King Jr. Federal Building and U.S. Courthouse.

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Hon. Leda Dunn Wettre
United States Magistrate Judge

